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                       EXHIBIT M
FILED: NASSAU COUNTY CLERK 08/21/2024 03:57 PM                                                                                                     INDEX NO. 607805/2024
        CaseNO.
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                12                                                      Document 1-13                        Filed 08/30/24                 Page 2 of 3NYSCEF:
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                                       New York State Uniﬁed Court System                                                                        nycourts.gov
                                       Request for Judicial Intervention                                                                  UCS-840C (04/2024)
                                                                                                                                                  Page 1 of 2
                                       Commercial Division Addendum                                                                           nycourthelp.gov
         Supreme Court
         County of __________________
                   NASSAU

         Plaintiff/Petitioner (persons/entities that started the case):                                                                   Index #:
         __________________________________________________
         SDN LIMITED and STEVEN NERAYOFF                                                                                                  _________________
                                                                                                                                          607805/2024

         Defendant/Respondent (persons/entities the case is against):
         __________________________________________________
         IOV Labs Limited, RIF Labs Limited, RSK Labs Limited, Diego Gutierrez Zaldivar, and Alejandro Maria Aberg Cobo a/k/a Alex Cobo




         Plaintiff/Petitioner’s cause(s) of action [check all that apply]:
               Breach of contract or fiduciary duty, fraud, misrepresentation, business tort (e.g.,
               unfair competition), or statutory and/or common law violation where the breach or
               violation is alleged to arise out of business dealings (e.g., sales of assets or
               securities; corporate restructuring; partnership, shareholder, joint venture, and other
               business agreements; technology transactions and/or commercial disputes involving
               or arising out of technology; trade secrets; restrictive covenants; and employment
               agreements not including claims that principally involve alleged discriminatory
               practices)
               Transactions governed by the Uniform Commercial Code, excluding those
               concerning individual cooperative or condominium units
               Transactions involving commercial real property, including Yellowstone injunctions
               and excluding actions for the payment of rent only
               Shareholder derivative actions (without consideration of the monetary threshold)
               Commercial class actions (without consideration of the monetary threshold)
               Business transactions involving or arising out of dealings with commercial banks and
               other financial institutions
               Internal affairs of business organizations
               Malpractice by accountants or actuaries, and legal malpractice arising out of
               representation in commercial matters
               Environmental insurance coverage
               Commercial insurance coverage (e.g., directors and officers, errors and omissions,
               and business interruption coverage)
               Dissolution of corporations, partnerships, limited liability companies, limited liability
               partnerships and joint ventures (without consideration of the monetary threshold)
               Applications to stay or compel arbitration and affirm or disaffirm arbitration awards
               and related injunctive relief pursuant to CPLR Article 75 involving any of the
               foregoing enumerated commercial issues (where the applicable agreement provides
               for the arbitration to be heard outside the United States, the monetary threshold set
               forth in 22 NYCRR 202.70(a) shall not apply)
        ADA Accommodations                                            Spoken or Sign Language Interpreters                                             1-800-COURT-NY
        ada@nycourts.gov                                              interpreter@nycourts.gov                                                                (268-7869)
                                                                                  1 of 2
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                12                          Document 1-13        Filed 08/30/24     Page 3 of 3NYSCEF:
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                                                                               607805/2024


         Plaintiff/Petitioner’s claim for compensatory damages, excluding punitive damages,
         interest, costs, and counsel fees claimed: $__________________________________
                                                       100,000,000.00


         Plaintiff/Petitioner’s claim for equitable or declaratory relief [brief description]:

         Plaintiffs seek the rescission of their investments and the return of their invested Bitcoin
         based upon Defendants' fraud and/or aiding-and-abetting fraud.




         Defendant/Respondent’s counterclaims, including claims for monetary relief [brief
         description]:

         N/A




         I request that this case is assigned to the Commercial Division. I certify that the case
         meets the Commercial Division’s jurisdictional requirements as set forth in 22 NYCRR
         202.70(a), (b) and (c).

          Dated: _______________
                     08/21/2024                            _________________________________
                                                                        Signature
                                                           _________________________________
                                                                      John A. Piskora
                                                                       Print Name




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